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4
     Attorney for Defendant
5    SANDRA HERMOSILLO

6

7                            IN THE UNITED STATES DISTRICT COURT

8                         FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,              )    2:11-CR-00296 WBS
                                            )
11                             Plaintiff,   )    STIPULATION AND [PROPOSED] ORDER
                                            )    TO RELEASE PASSPORT TO COUNSEL
12   v.                                     )    FOR PURPOSES OF RENEWAL
                                            )
13                                          )
     SANDRA HERMOSILLO,                     )
14                                          )
                             Defendant.     )
15   __________________________________     )

16
                                         STIPULATION
17
           Plaintiff, United States of America, by and through its counsel,
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     Assistant United States Attorney Jean Hobler, and Defendant, Sandra
19
     Hermosillo, by and through her counsel, Erin J. Radekin, hereby stipulate
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     that Ms. Hermosillo’s U.S. passport may be released to Ms. Radekin so that
21
     Ms. Radekin can apply for renewal of the passport on Ms. Hermosillo’s behalf,
22
     which expires August 15, 2015.
23
           It is further stipulated that Ms. Radekin shall return Ms. Hermosillo’s
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     passport to the Court when the renewal process is complete and the passport
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     is again in Ms. Radekin’s custody.
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           Accordingly, the parties respectfully request the Court adopt this
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     proposed stipulation.
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                                     Stipulation and Order - 1
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1    IT IS SO STIPULATED.

2    Dated: August 12, 2015             BENJAMIN WAGNER
                                        United States Attorney
3
                                  By:    /s/ Jean Hobler
4                                       JEAN HOBLER
                                        Assistant United States Attorney
5

6
     Dated: August 12, 2015              /s/ Erin J. Radekin
7                                       ERIN J. RADEKIN
                                        Attorney for Defendant
8                                       SANDRA HERMOSILLO

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10   IT IS SO ORDERED.

11   Dated: August 14, 2015.

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                                 Stipulation and Order - 2
